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                                                        7

                                                        8                               IN THE UNITED STATES DISTRICT COURT

                                                        9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                       10

                                                       11   UNITED STATES OF AMERICA,                           Case No. 2:11-CR-00467-JAM

                                                       12                  Plaintiff,
B ARTH T OZER & D AL Y LLP




                                                                                                                AMENDED STIPULATION AND
                        S ACRAMENTO , C AL I FORNI A




                                                       13            v.                                         ORDER
                            A TTORNE YS A T L AW




                                                       14   ZHORA DARMOYAN,
                                                            MARAT GALOYAN,                                      Date: January 28, 2013
                                                       15   MARTIN ATOYAN and,                                  Time: 9:45 a.m.
                                                            KRISTINE ATOYAN,                                    Judge: Honorable John A. Mendez
                                                       16
                                                                           Defendants.
                                                       17

                                                       18                  It is hereby stipulated and agreed to between the United States of America through

                                                       19   Lee Bickley, Assistant U.S. Attorney, and defendants Zhora Darmoyan, through his counsel,

                                                       20   Dwight Samual, Marat Galoyan, through his counsel Chris Hadyn-Myer, Martin Atoyan, through

                                                       21   his counsel J. Toney, and Kristine Atoyan, through her counsel, Kresta Nora Daly as follows:

                                                       22                  1.      By previous order, this matter was set for status on January 29, 2013.

                                                       23                  2.      By this stipulation, defendants now move to continue the status conference

                                                       24   until March 12, 2013 at 9:45 a.m. and to exclude time between January 29, 2012 and March 12,

                                                       25   2013 under Local Code T4. Plaintiff does not oppose this request.

                                                       26                  3.      The parties agree and stipulate, and request that the Court find the

                                                       27   following:

                                                       28   ///
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                       (a)       Defense counsel is in the process of reviewing the discovery.

Defense counsel and each of them have not completed their review and are therefore unprepared

to meet and confer with the government to resolve discovery issues.

                       (b)       Counsel for defendants desire additional time to consult with each

of their clients, to review the current charges, to conduct investigation and research related to the

charges, to review and copy discovery for this matter, to discuss potential resolutions with each of

their clients, to prepare pretrial motions and otherwise prepare for trial.

                       (c)       Counsel for defendants believe failure to grant the above-requested

continuance would deny each of them reasonable time necessary for effective preparation, taking

into account the exercise of due diligence.

                       (d)       The government does not object to the continuance.

                       (e)       Based on the above-stated findings, the ends of justice served by

continuing the case as requested outweigh the interests of the public and the defendants in a trial

within the original date prescribed by the Speedy Trial Act.

                       (f)       For the purpose of computing time under the Speedy Trial Act,

Title 18, United States Code Section 3161, et seq., within which trial must commence, the time

period of January 29, 2013 to March 12, 2013, inclusive, is deemed excludable pursuant to Title

18, United States Code Section 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a

continuance granted by the Court at defendants' request on the basis of the Court's finding that the

ends of justice served by taking such action outweigh the best interests of the public and the

defendants in a speedy trial.

                       (g)       This case involves multiple witnesses and multiple defendants and

concerns allegations of mortgage fraud in separate but related cases including United States v.

Kuzmenko, et al 2:11-CR-00210.

               4.      Nothing in this stipulation and order shall preclude a finding that other

provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

period within which a trial must commence.

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                                OPPOSITION TO MOTION FOR APPOINTMENT OF RECEIVER
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               The parties request that speedy trial time be excluded from January 29, 2013

through the date of the status conference set for March 12, 2013 pursuant to Title 18, United

States Code Section 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).

Dated: February 1, 2013.              Respectfully submitted,


                                      By     /s/ Kresta Nora Daly
                                             DWIGHT SAMUAL
                                       Attorney for ZHORA DARMOYAN




Dated: February 1, 2013.              By     /s/ Kresta Nora Daly
                                             CHRIS HADYN-MYER
                                      Attorney for MARAT GALOYAN



Dated: February 1, 2013.              By     /s/ Kresta Nora Daly
                                             J. TONEY
                                      Attorney for MARTIN ATOYAN



Dated: February 1, 2013.              BARTH TOZER & DALY LLP


                                      By     /s/ Kresta Nora Daly
                                             KRESTA NORA DALY
                                       Attorneys for KRISTINE ATOYAN



Dated: February 1, 2013.              By       /s/ Kresta Nora Daly
                                               LEE BICKLEY
                                               Assistant United States Attorney



                                             ORDER

               IT IS SO ORDERED.

Dated: 2/1/2013
                                         /s/ John A. Mendez___________________
                                         HONORABLE JOHN A. MENDEZ
                                         UNITED STATES DISTRICT COURT JUDGE



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                            OPPOSITION TO MOTION FOR APPOINTMENT OF RECEIVER
